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10 Individually and on behalf of all others similarly situated.

11                           UNITED STATES DISTRICT COURT

12                          EASTERN DISTRICT OF CALIFORNIA
13
   RICHARD MARIN, SAMANTHA LOPEZ,              CASE NO.: 1:22-cv-00578-ADA-SKO
14 individually and on behalf of all others    HON. ANA DE ALBA
   similarly situated,
15                                             FIRST AMENDED CLASS ACTION
                                               COMPLAINT FOR:
                       Plaintiffs ,
16
                                               1.    Failure to Pay Wages Including
17         v.                                        Overtime as Required by Labor
                                                     Code §§ 510 and 1194;
18 CARGILL MEAT SOLUTIONS                      2.    Failure to Provide Meal Periods as
                                                     Required by Labor Code §§ 226.7,
   CORPORATION, a Delaware Corporation;              512 and IWC Wage Orders;
19 and DOES 1-50, inclusive,
                                               3.    Failure to Provide Rest Periods as
20                                                   Required by Labor Code §§ 226.7,
                     Defendants.                     512;
21                                             4.    Failure to Pay Timely Wages
                                                     Required by Labor Code § 203;
22                                             5.    Failure to Provide Accurate Itemized
                                                     Wage Statements as Required by
23                                                   Labor Code § 226;
                                               6.    Failure to Provide Day of Rest as
24                                                   Required by Labor Code §§ 551 and
                                                     552;
25                                             7.    Failure to Indemnify Necessary
                                                     Business Expenses as Required by
26                                                   Labor Code § 2802;
                                               8.    Failure to Accurately Record and
27                                                   Pay Sick Leave as Required by
                                                     Labor Code § 246;
28                                             9.    Unlawful Deductions pursuant to
                                                     Labor Code § 221;


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 1
                                             10.   Violation of Business & Professions
 2                                                 Code § 17200, et seq.

 3                                           DEMAND FOR JURY TRIAL

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                          FIRST AMENDED CLASS ACTION COMPLAINT
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 1          Plaintiffs RICHARD MARIN and SAMANTHA LOPEZ (“Plaintiffs ”), individually and
 2 on behalf of all others similarly situated (hereinafter collectively referred to as the “Class” or

 3 “Class Member”), hereby file this Complaint against CARGILL MEAT SOLUTIONS

 4 CORPORATION, a Delaware Corporation; and DOES 1-50, inclusive, (collectively

 5 “Defendants”) and alleges on information and belief as follows:

 6                                    I. JURISDICTION AND VENUE
 7          1.     The United States District Court for the Central District of California has
 8 jurisdiction over this case by virtue of original jurisdiction pursuant to 28 U.S.C. § 1332. This

 9 Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over the claims alleged

10 herein arising under the California Labor Code. .

11          2.     This Court has personal jurisdiction over the Defendant because it has sufficient
12 minimum contacts in the State to render the exercise of jurisdiction by this Court proper and

13 necessary. Defendants intentionally avail itself of the markets within this State through the

14 promotion, sale, marketing, and distribution of its services. .

15          3.     Venue is proper in the Eastern District of California under 28 U.S.C. § 1391
16 because a substantial part of the events or omissions giving rise to the claim(s) occurred in this

17 judicial district. Defendants conduct business in the Fresno County, California and each

18 Defendants is within the jurisdiction of this Court for service of process purposes. The unlawful

19 acts alleged herein have a direct effect on Plaintiff and those similarly situated within the State of

20 California and within Anaheim and elsewhere in California. Defendants employ numerous Class

21 Members in Fresno and throughout California. Defendants are corporations.

22          4.     Defendants are corporations engaged in the processing of meat and are doing
23 business in the state of California. On information and belief, Defendants have conducted business

24 within the State of California during the purported liability period and continue to conduct

25 business throughout the State of California. The unlawful acts alleged herein have had a direct

26 effect on Plaintiffs, and the similarly situated non-exempt employees throughout the State of

27 California, and Defendants employ or have employed sufficiently numerous Class Members as

28 non-exempt employees. .


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 2                                               II. PARTIES
 3          5.        Plaintiffs RICHARD MARIN and SAMANTHA LOPEZ were, at all times
 4 relevant to this action, residents of California.

 5          6.      Plaintiff RICHARD MARIN was employed by Defendants approximately in
 6 December 2015 as a Non-Exempt Employee Plaintiff RICHARD MARIN worked during the

 7 liability period for Defendants until separation from Defendants’ employ in approximately June

 8 2021.

 9          7.      Defendants employed Plaintiff SAMANTHA LOPEZ approximately in December
10 2020 as a Non-Exempt Employee with the title of meat trimmer and butcher. Plaintiff

11 SAMANTHA LOPEZ worked during the liability period for Defendants until separation from

12 Defendants’ employ in approximately March 2021. Plaintiff SAMANTHA LOPEZ’s duties

13 included but was not limited to trimming and butchering meat for the Fresno county job site.

14          8.        Defendants CARGILL MEAT SOLUTIONS CORPORATION, a Delaware
15 corporation, operates as a Beef Processing Plant. Plaintiffs estimate there are in excess of 100

16 Non-Exempt Employees who work or have worked for Defendants over the four years.

17          9.      Other than identified herein, Plaintiffs are unaware of the true names, capacities,
18 relationships, and extent of participation in the conduct alleged herein, of the Defendants sued as

19 DOES 1 through 50, but are informed and believe and thereon allege that said defendants are

20 legally responsible for the wrongful conduct alleged herein and therefore sues these defendants by

21 such fictitious names. Plaintiffs will amend this complaint when their true names and capacities

22 are ascertained.

23          10.       Plaintiffs are informed and believe and thereon allege that each defendant, directly
24 or indirectly, or through agents or other persons, employed Plaintiffs and other members of the

25 Class, and exercised control over their wages, hours, and working conditions. Plaintiffs are

26 informed and believe and thereon allege that each Defendant acted in all respects pertinent to this

27 action as the agent of the other Defendants, carried out a joint scheme, business plan or policy in

28 all respects pertinent hereto, and the acts of each Defendant are legally attributable to the other


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 1 defendants.

 2                                III. CLASS ACTION ALLEGATION
 3         11.     Plaintiffs brings this action individually and on behalf of all others similarly
 4 situated as a class action pursuant to Fed. R. Civ. P. Rule 23(a)(1)(-(4) and 23(b)(3). The members

 5 of the Class are defined as follows:

 6
           All persons who have been employed by Defendants as Non-Exempt Employees or
 7         equivalent positions, however titled, in the state of California within four (4) years from
           the filing of the Complaint in this action until its resolution. (collectively referred to as the
 8         “Class” or “Plaintiffs ’ Class” or “Class Members”).
 9         12.     Plaintiffs also seeks to represent the subclass(es) composed of and defined as

10 follows:

11         Sub-Class 1: All Class Members who are or were employed by Defendants who worked in
           excess of six or ten hours in a work day but were not provided with a timely, uninterrupted,
12
           duty-free thirty-minute meal period (hereinafter collectively referred to as the “Meal
13         Period Subclass”).

14         Sub-Class 2: All Class Members who are or were employed by Defendants who worked in
           excess of three and a half (3.5) or ten hours in a work day but were not authorized and
15         permitted a rest period (hereinafter collectively referred to as the “Rest Period Subclass”).
16
           Sub-Class 3: All Class Members who are or were employed by Defendants at any time
17         between February 2021 and the present and who received wage statements from Defendant
           (hereinafter collectively referred to as the “Wage Statement Subclass”).
18
           Sub-Class 4: All Class Members who have been employed by Defendants at any time
19         between February 2019 and the present and have separated their employment (hereinafter
           collectively referred to as the “Waiting Time Penalty Subclass”).
20
           Sub-Class 5: All Class Members who did not receive reimbursements for necessary
21         business expenses by Defendants. (hereinafter collectively referred to as the “Business
           Reimbursement Subclass”).
22

23         Sub-Class 6: All Class Members who did not receive accurate sick pay by Defendants.
           (hereinafter collectively referred to as the “Sick Pay Subclass”).
24
           Sub-Class 7: All Class Members who did not receive a day’s rest in seven by Defendants.
25         (hereinafter collectively referred to as the “Day Rest in Seven Subclass”).
26         Sub-Class 8: All Class Members who are or were employed by Defendants and subject to
           Defendant’s Unfair Business Practices (hereinafter collectively referred to as the “Unfair
27         Business Practice Subclass”).
28         13.     Plaintiffs reserve the right to amend or modify the class definition with respect to

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 1          issues or in any other ways. Plaintiffs are members of the Class as well as each of the Sub-
 2          Classes.
 3          14.          The term “Class” includes Plaintiffs and all members of the Class and each of the
 4 Sub-Classes, if applicable. Plaintiffs seek class-wide recovery based on the allegations set forth in

 5 this complaint.

 6          15.          There is a well-defined community of interest in the litigation and the proposed
 7 Class is easily ascertainable through the records Defendants are required to keep.

 8          16.          Numerosity. The members of the Class are so numerous that individual joinder of
 9 all of them as Plaintiffs is impracticable. While the exact number of the Class members is

10 unknown to Plaintiffs at this time, Plaintiffs is informed and believes and thereon alleges that there

11 are at least 100 (one hundred) Class members.

12          17.          Commonality. Common questions of law and fact exist as to all Class members
13 and predominate over any questions that affect only individual members of the Class. These

14 common questions include, but are not limited to:

15                  i.         Whether Defendants failed to pay minimum wage compensation to
16
     Plaintiffs and Class Members for all hours worked;
17
                  ii.          Whether Defendants failed to accurately pay overtime to Plaintiffs and
18
     Class Members;
19
                  iii.         Whether Defendants failed to allow Plaintiffs a day of rest in seven as
20
     required by Labor Code §§ 551 and 552;
21
                  iv.          Whether Defendants failed to reimburse necessary business expense
22
     pursuant to Labor Code § 2802;
23

24                 v.          Whether Defendants violated Labor Code §§ 226.7, 512, and applicable

25 IWC Wage Orders, by failing to authorize and permit daily rest periods to Plaintiffs and Class

26 Members for every four hours or major fraction thereof worked and failing to compensate said

27 employees one hours wages in lieu of rest periods;

28                vi.          Whether Defendants violated Labor Code §§ 226.7, 512 and applicable

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 1 IWC Wage Orders, by failing to provide a meal period to Plaintiffs and Class Members on days

 2 they worked work periods in excess of five and ten hours and failing to compensate said

 3 employees one hour wages in lieu of meal periods;

 4              vii.       Whether Defendants failed to maintain accurate time record including
 5 recording Plaintiffs and Class Members’ meal periods pursuant to Labor Code § 1174.5 and the

 6 applicable IWC Wage Orders;

 7              viii.      Whether Defendants provided accurate itemized wage statements pursuant
 8 to Labor Code section 226;

 9               ix.       Whether Defendants provided timely payment of all wages owed to

10 Plaintiffs at the time of separation from Defendants employ, pursuant to Labor Code 203;

11                x.       Whether Defendants unlawfully deducted wages from Plaintiffs in violation

12 of Labor Code 221;

13               xi.       Whether Defendants accurately paid sick pay wages to Plaintiffs , pursuant

14 to Labor Code 246;

15              xii.       Whether Defendants violated Business and Professions Code and Labor

16 Code §§ 201-203, 221, 226, 246, 510, 512, 551, 552, 558, 226.3, 226.7, 1174, 1174.5, 1175, 1194,

17 1197, 1197.1, 1198, 2802 and applicable IWC Wage Orders which violation constitutes a violation

18 of fundamental public policy; and
                xiii.       Whether Plaintiffs and the Members of the Plaintiffs’ Class are entitled to
19
   equitable relief pursuant to Business and Professions Code §§ 17200, et. seq.
20
                xiv.        Whether Plaintiffs and the Members of the Plaintiffs Class are entitled to
21
   relief in the form of back wages, penalties and interest for failure to pay minimum wages pursuant
22
   to Labor Code §§ 558, 1194 and 1197.
23
            18.       Typicality. Plaintiffs ’ claims herein alleged are typical of those claims that could
24
   be alleged by any member of the Class and/or Subclass, and the relief sought is typical of the relief
25
   which would be sought by each member of the Class and/or Subclass in separate actions. Plaintiffs
26
   and all members of the Class and or Subclass sustained injuries and damages arising out of and
27
   caused by Defendants' common course of conduct in violation of California laws, regulations, and
28


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 1 statutes as alleged herein.

 2          19.     Adequacy. Plaintiffs are qualified to, and will fairly and adequately protect the
 3 interests of each member of the Class and/or Subclass with whom they have a well-defined

 4 community of interest and typicality of claims, as demonstrated herein. Plaintiffs acknowledge an

 5 obligation to make known to the Court any relationships, conflicts, or differences with any

 6 member of the Class and/or Subclass. Plaintiffs ’ attorneys and the proposed Counsel for the Class

 7 and Subclass are versed in the rules governing class action discovery, certification, litigation, and

 8 settlement and experienced in handling such matters. Other former and current employees of

 9 Defendants may also serve as representatives of the Class and Subclass if needed.

10          20.     Superiority. A class action is superior to other available means for the fair and
11 efficient adjudication of the claims of the Class and would be beneficial for the parties and the

12 court. Class action treatment will allow a large number of similarly situated persons to prosecute

13 their common claims in a single forum, simultaneously, efficiently, and without the unnecessary

14 duplication of effort and expense that numerous individual actions would require. The damages

15 suffered by each Class member are relatively small in the sense pertinent to class action analysis,

16 and the expense and burden of individual litigation would make it extremely difficult or

17 impossible for the individual Class Members to seek and obtain individual relief. A class action

18 will serve an important public interest by permitting such individuals to effectively pursue

19 recovery of the sums owed to them. Further, class litigation prevents the potential for inconsistent

20 or contradictory judgments raised by individual litigation.

21          21.     Public Policy Considerations: Employers in the state of California violate
22 employment and labor laws every day. Current employees are often afraid to assert their rights out

23 of fear of direct or indirect retaliation. Former employees are fearful of bringing actions because

24 they believe their former employers may damage their future endeavors through negative

25 references and/or other means. The nature of this action allows for the protection of current and

26 former employees’ rights without fear or retaliation or damage.

27                                  IV. FACTUAL ALLEGATIONS
28          22.    At all times set forth herein, Defendants employed Plaintiffs and other persons in

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 1 the capacity of non-exempt positions, however titled, throughout the state of California.

 2         23.     Plaintiffs are informed and believe Class Members have at all times pertinent
 3 hereto been Non-Exempt within the meaning of the California Labor Code and the implementing

 4 rules and regulations of the IWC California Wage Orders.

 5         24.     Defendants continue to employ Non-Exempt Employees, however titled, in
 6 California and implement a uniform set of policies and practices to all non-exempt employees, as

 7 they were all engaged in the generic job duties related to Defendants’ Beef Processing Plant.

 8         25.     Plaintiffs are informed and believe, and thereon allege, that Defendants are and
 9 were advised by skilled lawyers and other professionals, employees, and advisors with knowledge

10 of the requirements of California’s wage and employment laws.

11         26.     On information and belief, during the relevant time frame, Plaintiffs and Class
12 Members frequently worked well over eight (8) hours in a day and forty (40) hours in a work

13 week.

14         27.     During the relevant time frame, Defendants compensated Plaintiffs and Class
15 Members based upon an hourly rate.

16         28.     On information and belief, during the relevant time frame, Plaintiffs and Class
17 Members typically worked seven (7) days a week.

18         29.     Plaintiffs are informed and believe that the Class Members were required to keep
19 similar schedules.

20         30.     In addition, the Class Members frequently worked in excess of eight (8) hours a
21 day and/or over forty (40) hours in a workweek, but were not properly paid for such time at the

22 employee’s correct rate of pay per hour for overtime.

23         31.     Defendants also failed to properly calculate Plaintiffs ’ and the Class Members’

24 regular rate of pay including but not limited to by failing to include all forms of

25 compensation/remuneration in the regular rate including but not limited to bonuses, incentives,

26 commissions, training and orientation pay, shift differential pay, and other compensation for

27 overtime calculation purposes.

28         32.     On information and belief, Plaintiffs and Class Members allege that their paystubs


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 1 showed that overtime was paid at only 1.5 times the base rate and that bonuses were not blended

 2 into the overtime rate. At certain pay periods, the hourly rate reflected as being lower than their

 3 actual rates and that overtime was even slightly lower than 1.5 times the base rate.

 4          33.    Defendants failed to adjust double time rates.
 5          34.    Defendants failed to adjust overtime rates for two non-discretionary bonuses.
 6          35.    On information and belief, Plaintiffs and Class Members allege that paystubs show
 7 that Plaintiffs were paid bonuses but sick pay was not paid at the regular rate of pay during the

 8 same pay period a bonus was provided.

 9          36.    Defendants failed to adjust sick pay rates.
10          37.    Defendants distributed paystubs that reflect a penalty pay without listing hour
11 and/or units nor reasons for the penalty, further violating Labor Codes 226 and 221.

12          38.    Plaintiffs and Class Members were required to perform COVID-19 screening tests
13 before clocking in for work without being compensated at overtime or minimum wage rates.

14          39.    Plaintiffs and the Class Members were regularly required to work shifts in excess
15 of five hours without being provided a lawful meal period and over ten hours in a day without

16 being provided a second lawful meal period as required by law.

17          40.    Plaintiffs and Class Members missed meal breaks several times a week and had late
18 meal periods. Defendants failed to pay premium wages for missed, short or late meal breaks.

19          41.    On information and belief, during the relevant time period, Defendants would
20 modify Plaintiffs ’ and Class Members’ time to include lawfully required meal periods even

21 during times when Plaintiffs and Class Members did not receive a full 30-mintues of uninterrupted

22 time for meal periods.

23          42.    Plaintiffs and Class Members were required to forgo meal periods on a consistent
24 basis.

25          43.    Indeed, during the relevant time, as a consequence of Defendants’ staffing and
26 scheduling practices, work demands, and Defendants’ policies and practices, Defendants

27 frequently failed to provide Plaintiffs and the Class Members timely, legally complaint

28 uninterrupted 30-minute meal periods on shifts over five hours as required by law.


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 1          44.    Similarly, as a consequence of Defendants’ staffing and scheduling practices, work
 2 demands, and Defendants’ policies and practices, Defendants frequently failed to provide

 3 Plaintiffs and the Class Members legally compliant second meal periods on shifts over ten hours

 4 as required by law.

 5          45.    Plaintiffs and Class Members were required to keep their personal cellphones on
 6 their persons at all times during their shifts in order to respond to work related calls, outside of

 7 work hours and during their meal periods, resulting in a disproportionate underpayment of

 8 minimum and overtime wages due to this off-the-clock worked performed.

 9          46.    On information and belief, Plaintiffs and Class Members did not waive their rights
10 to meal periods under the law.

11          47.    Plaintiffs and the Class Members were not provided with valid lawful on-duty meal
12 periods.

13          48.    Despite the above-mentioned meal period violations, Defendants failed to
14 compensate Plaintiffs , and on information and belief, failed to compensate Class Members, one

15 additional hour of pay at their regular rate as required by California law when meal periods were

16 not timely or lawfully provided in a compliant manner.

17          49.    Plaintiffs are informed and believe, and thereon alleges, that Defendants know,
18 should know, knew, and/or should have known that Plaintiffs and the other Class Members were

19 entitled to receive premium wages based on their regular rate of pay under Labor Code §226.7 but

20 were not receiving such compensation.

21          50.    In addition, during the relevant time frame, Plaintiffs and the Non-Exempt
22 Employees were systematically not authorized and permitted to take one net ten-minute paid, rest

23 period for every four hours worked or major fraction thereof, including third rest breaks which is a

24 violation of the Labor Code and IWC wage order.

25          51.    Plaintiffs and Class Members were required to keep their personal cellphones and
26 their persons at all times during their shifts in order to respond to work related calls, even during

27 rest breaks.

28          52.    Defendants failed to pay Plaintiffs and Class Members for COVID-19 leave.

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 1          53.    Defendants maintained and enforced scheduling practices, policies, and imposed
 2 work demands that frequently required Plaintiffs and Class Members to forego their lawful, paid

 3 rest periods of a net ten minutes for every four hours worked or major fraction thereof. Such

 4 requisite rest periods were not timely authorized and permitted as a result of Defendants’ failure to

 5 provide relief for Plaintiffs and Class Members to take their lawfully required breaks.

 6          54.    Despite the above-mentioned rest period violations, Defendants did not compensate
 7 Plaintiffs , and on information and belief, did not pay Class Members one additional hour of pay at

 8 their regular rate as required by California law, including Labor Code section 226.7 and the

 9 applicable IWC wage order, for each day on which lawful rest periods were not authorized and

10 permitted.

11          55.    Defendants also failed to reimburse Plaintiffs and Class Members for business
12 expenses incurred pursuant to Labor Code section 2802. Plaintiffs and Class Members were

13 required to use their personal cellphones during work hours in order to fulfill their duties. For

14 instance, Plaintiff RICHARD MARIN had to use his personal phone because here was not enough

15 radios/walkie talkies for him to use. Plaintiff RICHARD MARIN also was required to drive inside

16 the warehouse during work hours using his own vehicle. He had to use the vehicle regularly to

17 fulfill his duties, of which are not limited to, of driving back and forth opposite ends of the large

18 warehouse to check alarms on trailers. Defendant failed to reimburse Plaintiff and Class Members

19 for personal cell phone use and mileage.

20          56.    In addition, upon information and belief, Plaintiffs alleges that Defendants violated
21 Labor Code 551 and 552 by failing to allow Plaintiffs and Class Members a day of rest as they

22 were frequently required to work more than seven continuous days. Additionally, Plaintiffs and

23 Class Members were not paid a premium wage for the rest days they were asked to work, as

24 required to be paid by law.

25          57.    Defendants failed to provide accurate, lawful itemized wage statements to Plaintiffs
26 and the Class Members in part because of the above-specified violations. In addition, upon

27 information and belief, Defendants omitted an accurate itemization of total hours worked,

28 including premiums due and owing for meal and rest period violations, overtime pay, gross pay


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 1 and net pay figures from Plaintiffs and the Class Members ’ wage statements.

 2         58.     On information and belief, Plaintiffs and Class Members allege that paystubs
 3 reflected an “Empl Company Equp” deduction, Plaintiffs are unaware of what this deduction is

 4 for, nor do they recall authorizing such deductions.

 5         59.     On information and belief, Defendants failed to accurately list shift differentials, in
 6 violation of Labor Code 226.

 7         60.     Plaintiffs are informed and believe, and thereon allege, that at all times herein
 8 mentioned, Defendants knew that at the time of termination of employment (or within 72 hours

 9 thereof for resignations without prior notice as the case may be) they had a duty to accurately

10 compensate Plaintiffs and Class Members for all wages owed including minimum wages, meal

11 and rest period premiums, and that Defendants had the financial ability to pay such compensation,

12 but willfully, knowingly, recklessly, and/or intentionally failed to do so in part because of the

13 above-specified violations.

14         61.     Upon information and belief, Defendants knew and or should have known that it is
15 improper to implement policies and commit unlawful acts such as:

16         (a)     requiring employees to work four (4) hours or a major fraction thereof without
17 being provided a minimum ten (10) minute rest period and without compensating the employees

18 with one (1) hour of pay at the employees’ regular rate of compensation for each workday that a

19 rest period was not provided;

20         (b)     requiring employees to work in excess of five (5) hours or ten (10) hours per day
21 without being provided an uninterrupted thirty minute meal period and/or a second meal period,

22 and without compensating employees with one (1) hour of pay at the regular rate of compensation

23 for each workday that such a meal period was not provided;

24         (c)     failing to pay overtime and minimum wages;
25         (d)     failing to provide accurate itemized wage statements;
26         (e)     failing to timely pay Plaintiffs and Class Members;
27         (f)     failure to provide a day’s rest in seven;
28         (g)     unlawfully deducting from wages;

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 1          (h)    failing to accurately pay sick pay;
 2          (i)    failure to reimburse business expenses; and
 3          (j)    conducting and engaging in unfair business practices.
 4          62.    In addition to the violations above, and on information and belief, Defendants knew
 5 they had a duty to compensate Plaintiffs and Class Members for the allegations asserted herein,

 6 and that Defendants had the financial ability to pay such compensation, but willfully, knowingly,

 7 recklessly, and/or intentionally failed to do so.

 8          63.    Defendants unlawfully failed to distribute service charges to service employees
 9 such as Plaintiffs and Class Members as required by law.

10          64.    Plaintiffs and Class Members they seek to represent are covered by, and
11 Defendants are required to comply with, applicable California Labor Codes, Industrial Welfare

12 Commission Occupational Wage Orders (hereinafter “IWC Wage Orders”) and corresponding

13 applicable provisions of California Code of Regulations, Title 8, section 11000 et seq.

14                                     FIRST CAUSE OF ACTION
15                     FAILURE TO PAY WAGES INCLUDING OVERTIME
16                                       (Against All Defendants)
17          65.    Plaintiffs Incorporate and re-allege each and every allegation contained above as
18 though fully set forth herein.

19          66.    At all times relevant, the IWC wage orders applicable to Plaintiffs and the Class
20 require employers to pay its employees for each hour worked at least minimum wage. “Hours

21 worked” means the time during which an employee is subject to the control of an employer, and

22 includes all the time the employee is suffered or permitted to work, whether or not required to do

23 so, and in the case of an employee who is required to reside on the employment premises, that

24 time spent carrying out assigned duties shall be counted as hours worked.

25          67.    At all relevant times, Labor Code §1197 provides that the minimum wage for
26 employees fixed by the IWC is the minimum wage to be paid to employees, and the payment of a

27 lesser wage than the established minimum is unlawful. Further, pursuant to the IWC Wage Order

28 and Labor Code, Plaintiffs and Class Members are to be paid minimum wage for each hour


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 1 worked, and cannot be averaged At all times relevant, the IWC wage orders applicable to

 2 Plaintiffs and Class Members’ employment by Defendants provided that employees working for

 3 more than eight (8) hours in a day or forty (40) hours in a work week are entitled to overtime

 4 compensation at the rate of one and one-half times the regular rate of pay for all hours worked in

 5 excess of eight (8) hours in a day or forty (40) hours in a work week. An employee who works

 6 more than twelve (12) hours in a day is entitled to overtime compensation at a rate of twice the

 7 regular rate of pay.

 8          68.    At all relevant times, Labor Code §1197.1 states “[a]ny employer or other persons
 9 acting individually as an officer, agent, or employee of another person, who pays or causes to be

10 paid to any employee a wage less than the minimum fixed by an applicable state or local law, or

11 by an order of the commission shall be subject to a civil penalty, restitution of wages, liquidated

12 damages payable to the employee, and any applicable penalties pursuant to Section 203.

13          69.    Labor Code §510 codifies the right to overtime compensation at the rate of one and
14 one-half times the regular rate of pay for all hours worked in excess of eight (8) hours in a day or

15 forty (40) hours in a work week and to overtime compensation at twice the regular rate of pay for

16 hours worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the

17 seventh day of work in a particular work week.

18          70.    At all times relevant, Plaintiffs and Class Members regularly performed non-
19 exempt work and thus were subject to the overtime requirements of the IWC Wage Orders, CCR §

20 11000, et. seq. and the Labor Code.

21          71.    At all times relevant, Plaintiffs and Class Members consistently worked in excess
22 of eight (8) hours in a day and/or forty (40) hours in a week and Defendant’s failed to accurately

23 calculate overtime pay to Plaintiffs and Class Members.

24          72.    Defendants further failed to incorporate bonuses, shift differentials, and other
25 remunerations into the employees’ regular rates of pay for purposes of calculating overtime.

26          73.    At all times relevant, Defendants have failed to accurately pay minimum and
27 overtime owed to Plaintiffs and Class Members.

28          74.    Accordingly, Defendants owe Plaintiffs and Class Members minimum and

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 1 overtime wages, and have failed to pay Plaintiffs and Class Members their wages owed.

 2          75.    Pursuant to Labor Code §§ 510, 558 and 1194, Plaintiffs and Class Members are
 3 entitled to recover their unpaid wages and overtime compensation, as well as interest, costs, and

 4 attorneys’ fees.

 5                                    SECOND CAUSE OF ACTION
 6    FAILURE TO PROVIDE MEAL PERIODS OR COMPENSATION IN LIEU THEREOF
 7                                        (Against All Defendants)
 8          76.       Plaintiffs Incorporate and re-allege each and every allegation contained above as
 9 though fully set forth herein.

10          77.       Pursuant to Labor Code §512, no employer shall employ an employee for a work
11 period of more than five (5) hours without providing a meal break of not less than thirty (30)

12 minutes in which the employee is relieved of all of his or her duties. An employer may not employ

13 an employee for a work period of more than ten (10) hours per day without providing the

14 employee with a second meal period of not less than thirty (30) minutes, except that if the total

15 hours worked is no more than twelve (12) hours, the second meal period may be waived by mutual

16 consent of the employer and the employee only if the first meal period was not waived.

17          78.    Pursuant to the IWC wage orders applicable to Plaintiffs and Class Members’
18 employment by Defendants, in order for an “on duty” meal period to be permissible, the nature of

19 the work of the employee must prevent an employee from being relieved of all duties relating to

20 his or her work for the employer and the employees must consent in writing to the “on duty” meal

21 period. On information and belief, Plaintiffs and Class Members did not consent in writing to an

22 “on duty” meal period. Further, the nature of the work of Plaintiffs and Class Members was not

23 such that they were prevented from being relieved of all duties. Despite the requirements of the

24 IWC wage orders applicable to Plaintiffs ’ and Class Members’ employment by Defendants and

25 Labor Code §512 and §226.7, Defendants did not provide Plaintiffs and Class Members with all

26 their statutorily authorized meal periods.

27          79.    For the four (4) years preceding the filing of this lawsuit, Defendants failed to
28 provide Plaintiffs and Class Members, timely and uninterrupted meal periods of not less than


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 1 thirty (30) minutes pursuant to the IWC wage orders applicable to Plaintiffs and Class Members’

 2 employment by Defendants. As a proximate result of the aforementioned violations, Plaintiffs and

 3 the other Class Members have been damaged in an amount according to proof at time of trial.

 4          80.    By their failure to provide a compliant meal period for each shift worked over five
 5 (5) hours and their failure to provide a compliant second meal period for any shift worked over ten

 6 (10) hours per day by Plaintiffs and the Class Members, and by failing to provide compensation in

 7 lieu of such non-provided meal periods, as alleged above, Defendants violated the provisions of

 8 Labor Code §§226.7 and 512 and applicable IWC Wage Orders.

 9          81.    Plaintiffs and the Class Members he seeks to represent did not voluntarily or
10 willfully waive meal periods and were regularly required to work shifts without being provided all

11 of their legally required meal periods. Defendants created a working environment in which

12 Plaintiffs and Class Members were not provided all of their meal periods due to shift scheduling

13 and/or work related demands placed upon them by Defendants as discussed above. On information

14 and belief, Defendants’ implemented a policy and practice which resulted in systematic and class-

15 wide violations of the Labor Code. On information and belief, Defendants’ violations have been

16 widespread throughout the liability period and will be evidenced by Defendants’ time records for

17 the Class Members.

18          82.    As a result of the unlawful acts of Defendants described herein, Plaintiffs and the
19 Class Members they seek to represent have been deprived of premium wages in amounts to be

20 determined at trial. Pursuant to Labor Code §226.7, Plaintiffs and Class Members are entitled to

21 recover one (1) hour of premium pay for each day in which a meal period was not provided, along

22 with interest and penalties thereon, attorneys’ fees, and costs.

23                                    THIRD CAUSE OF ACTION
24    FAILURE TO PROVIDE REST PERIODS OR COMPENSATION IN LIEU THEREOF
25                                       (Against All Defendants)
26          83.    Plaintiffs Incorporate and re-allege each and every allegation contained above as
27 though fully set forth herein.

28          84.    Pursuant to the IWC wage orders applicable to Plaintiffs and Class Members’

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 1 employment by Defendants, “Every employer shall authorize and permit all employees to take rest

 2 periods, which insofar as practicable shall be in the middle of each work period…. [The]

 3 authorized rest period time shall be based on the total hours worked daily at the rate of ten (10)

 4 minutes net rest time per four (4) hours worked or major fraction thereof…. Authorized rest period

 5 time shall be counted as hours worked, for which there shall be no deduction from wages.” Labor

 6 Code §226.7(a) prohibits an employer from requiring any employee to work during any rest period

 7 mandated by an applicable order of the IWC.

 8          85.     Defendants were required to authorize and permit employees such as Plaintiffs and
 9 Class Members to take rest periods, based upon the total hours worked at a rate of ten (10) minutes

10 net rest per four (4) hours worked, or major fraction thereof, with no deduction from wages.

11 Despite said requirements of the IWC wage orders applicable to Plaintiffs ’ and Class Members’

12 employment by Defendants, Defendants failed and refused to authorize and permit Plaintiffs and

13 Class Members, to take ten (10) minute rest periods for every four (4) hours worked, or major

14 fraction thereof.

15          86.     On information and belief Defendants created a working environment in which
16 Plaintiffs and Class Members were not provided all of their rest periods due to shift scheduling

17 and/or work related demands placed upon them by Defendants to meet the needs of Defendants’

18 business as discussed above. On information and belief, Defendants implemented a policy and

19 practice which resulted in systematic and class-wide violations of the Labor Code. On information

20 and belief, Defendants’ violations have been widespread throughout the liability period.

21          87.     As a proximate result of the aforementioned violations, Plaintiffs and Class
22 Members have been damaged in an amount according to proof at time of trial. Pursuant to Labor

23 Code §226.7, Plaintiffs and Class Members are entitled to recover one (1) hour of premium pay

24 for each day in which Defendants failed to provide a rest period to Plaintiffs and the Class, plus

25 interest and penalties thereon, attorneys' fees, and costs.

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 1                                   FOURTH CAUSE OF ACTION
 2                            FAILURE TO PAY TIMELY PAY WAGES
 3                                       (Against All Defendants)
 4          88.    Plaintiffs Incorporate and re-allege each and every allegation contained above as
 5 though fully set forth herein.

 6          89.    Labor Code §§201-202 requires an employer who discharges an employee to pay
 7 compensation due and owing to said employee immediately upon discharge and that if an

 8 employee voluntarily leaves his or her employment, his or her wages shall become due and

 9 payable not later than seventy-two (72) hours thereafter, unless the employee has given seventy-

10 two (72) hours previous notice of his or her intention to quit, in which case the employee is

11 entitled to his or her wages on their last day of work.

12          90.    Labor Code §203 provides that if an employer willfully fails to pay compensation
13 promptly upon discharge, as required by Labor Code §§201-202, the employer is liable for waiting

14 time penalties in the form of continued compensation for up to thirty (30) work days.

15          91.    During the relevant time period, Defendants willfully failed and refused, and
16 continue to willfully fail and refuse, to pay Plaintiffs and Class Members their wages, earned and

17 unpaid, either at the time of discharge, or within seventy-two (72) hours of their voluntarily

18 leaving Defendants’ employ. These wages include regular and overtime.

19          92.    As a result, Defendants are liable to Plaintiffs and members of the Non-Exempt
20 Production Employee class for waiting time penalties pursuant to Labor Code §203, in an amount

21 according to proof at the time of trial.

22                                     FIFTH CAUSE OF ACTION
23           FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
24                                       (Against All Defendants)
25          93.    Plaintiffs Incorporate and re-allege each and every allegation contained above as
26 though fully set forth herein.

27          94.    Section 226(a) states that An employer, semimonthly or at the time of each
28 payment of wages, shall furnish to his or her employee, either as a detachable part of the check,


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 1 draft, or voucher paying the employee’s wages, or separately if wages are paid by personal check

 2 or cash, an accurate itemized statement in writing showing (1) gross wages earned, (2) total hours

 3 worked by the employee, except as provided in subdivision (j), (3) the number of piece-rate units

 4 earned and any applicable piece rate if the employee is paid on a piece-rate basis, (4) all

 5 deductions, provided that all deductions made on written orders of the employee may be

 6 aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the period for

 7 which the employee is paid, (7) the name of the employee and only the last four digits of his or her

 8 social security number or an employee identification number other than a social security number,

 9 (8) the name and address of the legal entity that is the employer.

10         95.     Section 226(a) of the California Labor Code requires Defendants to itemize in wage
11 statements all deductions from payment of wages and to accurately report total hours worked by

12 Plaintiffs and the Class including applicable hourly rates among other things. Defendants have

13 knowingly and intentionally failed to comply with Labor Code section 226 and 204 on wage

14 statements that have been provided to Plaintiffs and the Class.

15         96.     IWC Wage Orders require Defendants to maintain time records showing, among
16 others, when the employee begins and ends each work period, meal periods, split shift intervals

17 and total daily hours worked in an itemized wage statement, and must show all deductions and

18 reimbursements from payment of wages, and accurately report total hours worked by Plaintiffs

19 and the Class. On information and belief, Defendants have failed to record all or some of the items

20 delineated in Industrial Wage Orders and Labor Code §226.

21         97.     Defendants have failed to accurately record all time worked.
22         98.     Defendants failed to list the applicable hourly rates of pay and hours worked.
23         99.     Defendants have also failed to accurately record the meal and rest period premiums
24 owed and all wages owed per pay period.

25         100.    Plaintiffs and the Class have been injured as they were unable to determine whether
26 they had been paid correctly for all hours worked per pay period among other things.

27         101.    Pursuant to Labor Code section 226, Plaintiffs and the Class are entitled up to a
28 maximum of $4,000 each for record keeping violations.


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 1          102.    Pursuant to Labor Code section 226.3, any employer who violates subdivision (a)
 2 of Section 226 shall be subject to a civil penalty in the amount of two hundred fifty dollars ($250)

 3 per employee per violation in an initial citation and one thousand dollars ($1,000) per employee

 4 for each violation in a subsequent citation, for which the employer fails to provide the employee a

 5 wage deduction statement or fails to keep the records required in subdivision (a) of Section 226.

 6                                    SIXTH CAUSE OF ACTION
 7                              FAILURE TO PROVIDE DAY OF REST
 8                                       (Against All Defendants)

 9          103.    Plaintiffs Incorporate and re-allege each and every allegation contained above as

10 though fully set forth herein.

11          104.    Labor Code Section 551 requires “[e]very person employed in any occupation of

12 labor is entitled to one day’s rest therefrom in seven.”

13          105.    Labor Code Section 552 mandates that “[n]o employer of labor shall cause his

14 employees to work more than six days in seven.”

15          106.    Plaintiffs and Class Members were frequently required to work more than seven

16 continuous days and were deprived of a day rest in seven.

17          107.    As a result of the unlawful acts of Defendant, Plaintiffs and Class Members have

18 been damaged in amounts to be determined at trial, and are entitled to the recovery of such

19 amounts, plus interest and penalties thereon, attorneys' fees, and costs.

20                                  SEVENTH CAUSE OF ACTION

21                 FAILURE TO INDEMNIFY NECESSARY BUSINESS EXPENSES

22                                       (Against All Defendants)

23          108.    Plaintiffs Incorporate and re-allege each and every allegation contained above as

24 though fully set forth herein.

25          109.    Labor Code § 2802 requires Defendants to indemnify Plaintiffs and Class Members

26 for necessary expenditures incurred in direct consequences of the discharge of his or her duties. As

27 a necessary part of employment, Plaintiffs and on information and belief Class Members, were not

28 adequately reimbursed by Defendants for expenses related to all expenses incurred as a result of


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 1 their personal cellphone usage, personal vehicle usage, and personal funds usage as described

 2 above, which was incurred as a direct consequence of the discharge of duties by Plaintiffs and

 3 Class Members. Despite these realities of the job, Defendants failed to provide reimbursements.

 4          110.    Labor Code §2804 states in pertinent part: “Any contract or agreement, express or
 5 implied, made by any employee to waive the benefits of this article or any part thereof is null and

 6 void, and this article shall not deprive any employee or his or her personal representative of any

 7 right or remedy to which he is entitled under the laws of this State.

 8          111.    As a result of the unlawful acts of Defendants, Plaintiffs and the Class Members
 9 have been deprived of un-reimbursed expense amounts to be determined at trial, and are entitled to

10 the recovery of such amounts, plus interest and penalties thereon, attorneys’ fees, and costs,

11 pursuant to Labor Code § 2802.

12                                    EIGHTH CAUSE OF ACTION
13      FAILURE TO ACCURATELY RECORD AND PAY SICK LEAVE AS REQUIRED
14                                        (Against All Defendants)
15          112.    Plaintiffs incorporate and re-allege each and every allegation contained above as
16 though fully set forth herein.

17          113.    Labor Code Section 246(i) provides that: “an employer shall provide an employee
18 with written notice that sets forth the amount of paid sick leave available, or paid time off leave an

19 employer provides in lieu of sick leave, for use on either the employee’s itemized wage statement

20 described in Section 226 or in a separate writing provided on the designated pay date with the

21 employee’s payment of wages. If an employer provides unlimited paid sick leave or unlimited

22 paid time off to an employee, the employer may satisfy this section by indicating on the notice or

23 the employee’s itemized wage statement ‘unlimited.’ The penalties described in this article for a

24 violation of this subdivision shall be in lieu of the penalties for a violation of Section 226.”

25          114.    Labor Code § 246 provides that the employer shall calculate paid sick leave by
26 using one of two calculations: (1) “Paid sick time for nonexempt employees shall be calculated in

27 the same manner as the regular rate of pay for the workweek in which the employee uses paid sick

28 time, whether or not the employee actually works overtime in that workweek;” or (2) “Paid sick


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 1 time for nonexempt employees shall be calculated by dividing the employee’s total wages, not

 2 including overtime premium pay, by the employee’s total hours worked in the full pay periods of

 3 the prior 90 days of employment.”

 4          115.   Whenever Defendant paid Plaintiffs and Class Members sick time pursuant to
 5 California Labor Code § 246, Defendant did so at the incorrect rate of pay. Defendant paid

 6 Plaintiffs and the Class Members at the incorrect rate of pay and/or base hourly rate of pay, as

 7 opposed to the regular rate of pay, which would take into account all night premiums and/or shift

 8 differentials, or by dividing the employees’ total wages, not including overtime premium pay, by

 9 the employees’ total hours worked in the full pay periods of the prior 90 days of employment, as

10 required by Labor Code § 246. This resulted in the employees being underpaid for sick time, and

11 resulted in violations of California Labor Code §§ 201, 202, and 203, and other derivative Labor

12 Code violations, because Defendant did not pay, or timely pay, Plaintiffs and the unpaid wages for

13 work performed by them during their employment and at the end of their employment.

14          116.   As a result of the unlawful acts of Defendant, Plaintiffs and Class Members have
15 been deprived of sick pay in amounts to be determined at trial, and are entitled to the recovery of

16 such amounts, plus interest and penalties thereon, attorneys' fees, and costs.

17                                    NINTH CAUSE OF ACTION
18                              UNLAWFUL DEDUCTION OF WAGES
19                                       (Against All Defendants)

20          117.   Plaintiffs incorporate and re-allege each and every allegation contained above as

21 though fully set forth herein.

22          118.   Labor Code § 221 provides that: “It shall be unlawful for any employer to collect or

23 receive form an employee any part of wages therefore paid by said employer to said employee.”

24          119.   Labor Code § 223 provides “Where any statute or contract requires an employer to

25 maintain the designated wage scale, it shall be unlawful to secretly pay a lower wage while

26 purporting to pay the wage designated by statute or by contract.

27          120.   During the relevant time period, Defendants have unlawfully taken deduction from

28 Plaintiffs and Class Members compensation for Defendants’ ““Empl Company Equp deduction”


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 1 as well as unnamed and unquantified penalty pay listed on employee paystubs. Because of these

 2 unlawful deductions from Plaintiffs ’ and Class Members’ compensation, they are liable to

 3 Plaintiffs and Class Members for the compensation that should have been paid but for the

 4 unlawful deductions pursuant to Labor Code §§ 221 and 223 and applicable IWC Wage Orders.

 5          121.   As a result, Defendants are liable to Plaintiffs and Class members for penalties,
 6 reasonable attorneys’ fees, and costs pursuant to Labor Code 1194.

 7                                       TENTH CAUSE OF ACTION
 8                 VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200, et.seq.
 9                                          (Against All Defendants)
10          122.   Plaintiffs Incorporate and re-allege each and every allegation contained above as
11 though fully set forth herein.

12          123.   Defendants’ conduct, as alleged in this complaint, has been, and continues to be,
13 unfair, unlawful, and harmful to Plaintiffs and Class Members, Defendants’ competitors, and the

14 general public. Plaintiffs seeks to enforce important rights affecting the public interest within the

15 meaning of the California Code of Civil Procedure §1021.5.

16          124.   Defendants’ policies, activities, and actions as alleged herein, are violations of
17 California law and constitute unlawful business acts and practices in violation of California

18 Business and Professions Code §§17200, et seq.

19          125.   A violation of California Business and Professions Code §§17200, et seq., may be
20 predicated on the violation of any state or federal law. Defendants’ policy of failing to accurately

21 pay overtime, failing to pay minimum wages, failing to reimburse expenses, failing to provide a

22 day’s rest in seven, failing to pay sick pay accurately, unlawfully deducting from wages, failing to

23 pay all wages timely at separation, failing to provide accurate itemized wage statements and

24 failing to provide Plaintiffs and the Class with meal periods and rest breaks or the one (1) hour of

25 premium pay when a meal or rest break period was not provided or provided outside of the

26 required time frames, violates Labor Code § 203, § 221, § 226, § 246, § 551, § 552, § 226.7, §

27 1194, § 2802 and applicable IWC Wage Orders and California Code of Regulations.

28          126.   Plaintiffs and Class Members have been personally aggrieved by Defendants’

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 1 unlawful and unfair business acts and practices alleged herein by the loss of money and/or

 2 property.

 3          127.    Pursuant to California Business and Professions Code §§17200, et seq., Plaintiffs
 4 and Class Members are entitled to restitution of the wages withheld and retained by Defendants

 5 during a period that commences four (4) years prior to the filing of this complaint; an award of

 6 attorneys’ fees, interest; and an award of costs.

 7                                  ELEVENTH CAUSE OF ACTION
 8                 PURSUANT TO PRIVATE ATTORNEYS GENERAL ACT OF 2004
 9                           (By Plaintiff and Class Against All Defendants)
10          128.    Plaintiffs Incorporate and re-allege each and every allegation contained above as
11 though fully set forth herein.

12          129.    Pursuant to Labor Coe § 2699.3, (a) A civil action by an aggrieved employee
13 pursuant to subdivision (a) or (f) of Section 2699 alleging a violation of any provision listed in

14 Section 2699.5 shall commence only after the following requirements have been met.

15          (1) The aggrieved employee or representative shall give written notice by certified mail to
16             the Labor and Workforce Development Agency and the employer of the specific
17             provisions of this code alleged to have been violated, including the facts and theories to
18             support the alleged violation.
19          (2) (A) The agency shall notify the employer and the aggrieved employee or representative
20             by certified mail that it does not intended to investigate the alleged violation within
21             sixty (60) calendar days of the postmark date of the notice received pursuant to
22             paragraph (1). Upon receipt of that notice or if no notice is provided within sixty-five
23             (65) calendar days of the postmark date of the notice given pursuant to paragraph (1),
24             the aggrieved employee may commence a civil action pursuant to Section 2699.
25          130. On February 23, 2022 Plaintiffs complied with notice requirements pursuant to Labor
26 Code section 2699.3. A copy of the letter sent to the LWDA is attached hereto as Exhibit A,

27 indicating that the LWDA and Defendants were put on notice of the claims alleged here and that

28 the notice requirement has been satisfied. Sixty-five days have passed and the LWDA has not


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 1 indicated intent to investigate the claims. Therefore, Plaintiffs may proceed with this action in a

 2 representative capacity. The substance and violations set forth in this Complaint of which the

 3 LWDA was provided timely notice, Plaintiffs have also sent a copy of this PAGA Representative

 4 Action Complaint to the LWDA.

 5      131.       Plaintiffs are aggrieved employees as defined in Labor Code Section 2699(a).
 6 Plaintiffs bring this cause of action on behalf of all current and former California Non-Exempt

 7 Employees of Defendants.

 8      132.       Pursuant to Labor Code section 2699(a) Plaintiffs seek to recover civil penalties for
 9 which Defendants are liable due to numerous Labor Code violations as set forth in this Complaint,

10 including without limitation Labor Code section 201-203, 221, 226, 246, 510, 512, 551, 552, 558,

11 226.3, 226.7, 1174, 1174.5, 1175, 1194, 1197, 1197.1, 1198, 2802, and 2698 et seq., applicable

12 IWC Wage Orders and California Code of Regulations, Title 8, section 11000 et seq., as a result of

13 Defendants’ alleged: (a) failure to pay wages including overtime and minimum wages; (b) failure

14 to provide meal periods for every work period exceeding more than five (5) or ten (10) hours per

15 day and failure to pay an additional hour’s of pay or accurately pay an additional hour’s of pay in

16 lieu of providing a meal period; (c) failure to provide rest breaks for every four hours or major

17 fraction thereof worked and failure to pay an additional hour’s of pay or accurately pay an

18 additional hour’s of pay in lieu of providing a rest period; (d) failing to pay all wages earned and

19 owed upon separation from Defendant’s employ; (e) failing to provide accurate itemized wage

20 statements; (f) failing to provide a day’s rest in seven; (g) failing to accurately pay sick pay; (h)

21 failing to reimburse expenses; and (i) unlawfully deducting wages.

22      133.       Further, during the liability period, Plaintiffs and Aggrieved Employees were not
23 provided suitable seating and when such employees were not engaged in duties which required

24 them to stand, no seating was placed in reasonable proximity to their work stations. For instance,

25 Defendants’ management would not provide chairs or stools behind the cash register as

26 Defendants’ management believed it would interfere with the cashier’s duties. Thus, Defendants

27 did not provide Plaintiffs and Aggrieved Employees with suitable seating in accordance with

28 applicable IWC Wage Order 1-2001 (14)(A)-(B) and California law despite the fact that the nature


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 1 of their work reasonably permits use of seats.

 2      134.       Upon information and belief, Defendants knew and or should have known that it is
 3 improper to implement policies and commit unlawful acts such as: failing to provide suitable

 4 seating.

 5      135.       As a result of their unlawful acts, Plaintiff and the proposed class are entitled to
 6 civil penalties pursuant to Labor Code Private Attorney General Act of 2004, Labor Code §2698

 7 et. seq.

 8                                       PRAYER FOR RELIEF
 9                 WHEREFORE, Plaintiffs prays for judgment against Defendants, as follows:

10                                           Class Certification

11            1.   That this action be certified as a class action;

12            2.   That Plaintiffs be appointed as the representative of the Class;

13            3.   That Plaintiffs be appointed as the representative of the Subclass; and

14            4.   That counsel for Plaintiffs is appointed as counsel for the Class and Subclass.

15                                      On the First Cause of Action

16            1.   For compensatory damages equal to the unpaid balance of minimum wage

17 compensation and overtime owed to Plaintiffs and Class members as well as interest and costs;

18            2.   For reasonable attorneys’ fees and costs pursuant to Labor Code §§ 510, and 1194;

19            3.   For liquidated damages in an amount equal to the wages unlawfully unpaid and

20 interest thereon pursuant to Labor Code §§ 1194.2, 558;

21            4.   For such other and further relief as the Court deems proper.

22                                     On the Second Cause of Action

23            1.   For one (1) hour of premium pay for each day in which a required meal period was

24 not provided or not provided in a timely manner; and

25            2.   For such other and further relief as the Court deems proper.

26                                      On the Third Cause of Action

27            1.   For one (1) hour of premium pay for each day in which a required rest period was

28 not authorized or permitted; and


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 1         2.    For such other and further relief as the Court deems proper.
 2                                    On the Fourth Cause of Action
 3         1.    For statutory penalties pursuant to Labor Code §203;
 4         2.    For interest for wages untimely paid; and
 5         3.    For such other and further relief as the Court deems proper.
 6                                     On the Fifth Cause of Action
 7         1.    For statutory penalties pursuant to Labor Code §226;
 8         2.    For interest for wages untimely paid;
 9         3.    For penalties pursuant to Labor Code §226.3; and
10         4.    For such other and further relief as the Court deems proper.
11                                        On the Sixth Cause of Action
12         1.    For penalties pursuant to Labor Code §558; and
13         2.    For such other and further relief as the Court deems proper
14                                   On the Seventh Cause of Action
15         1.    For statutory penalties pursuant to Labor Code §2802;
16         2.    For interest for wages untimely paid; and
17         3.    For such other and further relief as the Court deems proper.
18                                    On the Eighth Cause of Action
19         1.    For unpaid sick leave;
20         2.    For penalties pursuant to Labor Code § 203;

21         3.    For interest;

22         4.    For reasonable attorneys’ fees and costs pursuant to statute; and

23         5.    For such other and further relief as the Court deems proper

24

25                                    On the Ninth Cause of Action

26         1.    For unlawful deductions;

27         2.    For interest for wages untimely paid; and

28         3.    For such other and further relief as the Court deems proper


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 2                                     On the Tenth Cause of Action
 3         1.      That Defendants, jointly and/or severally, pay restitution of sums to Plaintiffs and
 4 Class Members for their past failure to accurately pay overtime, failing to pay minimum wages,

 5 failing to reimburse expenses, failing to provide a day’s rest in seven, failing to provide accurate

 6 itemized wage statements and failing to provide Plaintiffs and the Class with meal periods and rest

 7 breaks or the one (1) hour of premium pay when a meal or rest break period was not provided or

 8 provided outside of the required time frames as described herein to Plaintiffs and Class Members

 9 over the last four (4) years in an amount according to proof;

10         2.      For pre-judgment interest on any unpaid wages due from the day that such amounts
11 were due;

12         3.      For reasonable attorneys’ fees that Plaintiffs and Class Members are entitled to
13 recover;

14         4.      For costs of suit incurred herein; and
15         5.      For such other and further relief as the Court deems proper.
16                                   On the Eleventh Cause of Action
17         1. For penalties according to proof, pursuant to Labor Code §§ 2698 et seq.;
18         2.     For reasonable attorneys’ fees and costs; and
19         3.     For such other and further relief as the Court deems proper.
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                               FIRST AMENDED CLASS ACTION COMPLAINT
     Case 1:22-cv-00578-KES-SKO Document 27 Filed 10/19/23 Page 30 of 34

 1                                    DEMAND FOR JURY TRIAL
 2          Plaintiffs and members of the Class and Subclass request a jury trial in this matter.
 3

 4

 5
     Dated: October 19, 2023                       JAMES HAWKINS APLC
 6
                                                   By:
 7                                                       JAMES R. HAWKINS, ESQ.
                                                         GREGORY MAURO, ESQ.
 8                                                       MICHAEL CALVO, ESQ.
                                                         AVA ISSARY, ESQ.
 9                                                       LAUREN FALK, ESQ.
                                                         Attorneys for Plaintiffs individually and on
10                                                       behalf of all others similarly situated.
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                                FIRST AMENDED CLASS ACTION COMPLAINT
Case 1:22-cv-00578-KES-SKO Document 27 Filed 10/19/23 Page 31 of 34




                      EXHIBIT A
 Case 1:22-cv-00578-KES-SKO Document 27 Filed 10/19/23 Page 32 of 34


                         JAMES JH HAWKINS
                          A PROFESSIONAL LAW CORPORATION
              9880 RESEARCH DRIVE, SUITE 200, IRVINE, CALIFORNIA 92618
                   TELEPHONE (949) 387-7200; FACSIMILE (949) 387-6676

                                   February 23, 2022

Via LWDA Website
Labor and Workforce Development Agency
Attn: PAGA Administrator
1515 Clay Street, Suite 801
Oakland, CA 94612
 http://www.dir.ca.gov/Private-Attorneys-General-Act

Via Certified Mail
CARGILL MEAT SOLUTIONS CORPORATION, a Delaware Corporation; and DOES
1-50, inclusive
Agent for Service of Process: UNITED AGENT GROUP INC.
4640 Admiralty Way, 5th Floor
Marina Del Rey, CA 90292
Receipt No. 7021 2720 0003 1232 5993


       Re:     NOTICE PURSUANT TO LABOR CODE SECTIONS 2698, et seq.

To Whom It May Concern:

PLEASE TAKE NOTICE that Plaintiffs RICHARD MARIN and SAMANTHA LOPEZ,
individually and on behalf of all similarly situated representative aggrieved employees,
give NOTICE to commence and/or amend a civil action pursuant to California Labor
Code Sections 2698, et seq. Plaintiffs hereby give written notice by certified mail to the
Labor and Workforce Development Agency, CARGILL MEAT SOLUTIONS
CORPORATION, a Delaware Corporation; and DOES 1-50, inclusive, through its Agent
for Service of Process.

Plaintiffs hereby attaches a copy of the Proposed PAGA Representative Action
Complaint to be filed in the Fresno County Superior Court, as though fully set forth
herewith setting out the specific provisions of the Labor Code Plaintiff alleges have been
violated, including the facts and theories. All labor provisions in the Proposed PAGA
Representative Action Complaint alleged to have been violated pertain to all entities and
individuals named in the Complaints, even if not expressly specified.
 Case 1:22-cv-00578-KES-SKO Document 27 Filed 10/19/23 Page 33 of 34

Please advise within sixty (60) days of the post mark on this letter if the LWDA intends
to investigate these claims. Thank you, and if you have any questions, please do not
hesitate to contact me.


Very Truly Yours,



Gregory Mauro

Enclosure: Proposed PAGA Representative Action Complaint




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     Case 1:22-cv-00578-KES-SKO Document 27 Filed 10/19/23 Page 34 of 34


                                       CERTIFICATE OF SERVICE
 1
 2           I hereby certify that on October 19, 2023, I electronically filed the foregoing with the Clerk

 3    of the Court for the U.S. District Court, for the Eastern District of California using the CM/ECF
 4
      system. All participants are registered CM/ECF users, and will be served by the CM/ECF system.
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 6
      Dated: October 19, 2023                       ___________________________________
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                                                          Gregory Mauro, Esq.
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